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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------X
                                       :
ATTICUS LIMITED LIABILITY COMPANY,     :             22cv10147 (DLC)
                                       :
                          Plaintiff,   :            OPINION AND ORDER
     and                               :
                                       :
AARON SORKIN,                          :
                                       :
              Involuntary Plaintiff,   :
                                       :
                -v-                    :
                                       :
THE DRAMATIC PUBLISHING COMPANY,       :
                                       :
                          Defendant.   :
                                       :
---------------------------------------X
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DENISE COTE, District Judge:

     This lawsuit concerns rights to perform amateur productions

of a play derived from Harper Lee’s novel, To Kill a

Mockingbird.   In an Opinion of April 27, 2023 (the “Opinion”),

this Court found as a matter of law that the defendant, The

Dramatic Publishing Company (“Dramatic”), no longer has

exclusive rights to such performances.       Having lost that motion,

Dramatic has identified a new defense and argues that

plaintiff’s right to litigate the issue of exclusivity was in

fact time-barred.    Dramatic’s motion is denied on the merits and

as untimely.


                               Background

I.   Factual Background

     Familiarity with the Opinion is presumed.         See Atticus Ltd.

Liab. Co. v. Dramatic Publ'g Co., 22cv10147 (DLC), 2023 WL

3135745 (S.D.N.Y. Apr. 27, 2023).       Only those facts relevant to

Dramatic’s statute of limitations defense are summarized below;

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these facts are undisputed or taken in the light most favorable

to the plaintiff, Atticus Limited Liability Company (“Atticus”),

unless otherwise noted.

     In 1960, Harper Lee published the American masterpiece To

Kill a Mockingbird (the “Novel”).       In 1969, Lee entered into an

agreement with Dramatic, licensing Dramatic “the complete right

throughout the world” to create a dramatization of the Novel

which “is to be the only one the amateur acting rights of which

[Lee] will permit to be leased and/or licensed” (the “1969

Agreement”).     Lee reserved “all rights not expressly granted to

[Dramatic]” including but not limited to the “professional

acting” rights.     The 1969 Agreement further stated that during

the run of any “first class” production in New York or a related

touring engagement, Dramatic “shall not permit amateur

performances [of Dramatic’s adaptation], as provided herein,

within a distance of twenty-five (25) miles of the city limits

of any city which had a 1960 U.S. census population in excess of

150,000.”   Pursuant to the 1969 Agreement, Dramatic’s then-

President, Christopher Sergel, wrote a stage adaptation of the

Novel (the “Sergel Play”).

     In April 2011, Dramatic was notified that Lee was

terminating the 1969 Agreement pursuant to § 304(c) of the

Copyright Act.     Four years later, Lee entered into an agreement



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with Rudinplay, Inc.1 to create a new dramatic adaption of the

Novel.     The 2015 agreement granted Rudinplay “all live stage

rights in and to the Novel,” but noted that “the amateur acting

rights to the [Sergel Play] can continue to be exploited

following [the 2011] termination . . . on a non-exclusive basis

in the United States[.]”        Rudinplay subsequently contracted with

Aaron Sorkin to serve as the playwright for the new stage

adaptation of the Novel (the “Sorkin Play”).           Lee died on

February 19, 2016.       The Sorkin Play debuted on Broadway on

December 13, 2018.

     Beginning in January of 2019, Atticus and the Lee Estate

separately sent letters to Dramatic regarding productions of the

Sergel Play.      The letters asserted that certain of Dramatic’s

planned productions of the Sergel Play violated the 1969

licensing agreement between Dramatic and Lee because the

productions involved “professional acting rights.”            Several U.K.

and U.S. productions of the Sergel Play were subsequently

cancelled.

     On March 7, 2019, Dramatic filed an arbitration demand

against the Lee Estate.        In its demand, Dramatic asserted that

the Lee Estate had breached the 1969 Agreement by hindering the




1 Rudinplay and Atticus are entities owned, controlled, or
operated by Scott Rudin (“Rudin”).

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full exercise of Dramatic’s rights and interfering with its

related licensing contracts.         Dramatic sought, inter alia, a

declaration that it maintained exclusive amateur stage rights

for any adaptation of To Kill a Mockingbird.           Atticus stipulates

that it received a copy of the arbitration demand at or about

the time that it was filed.        The arbitrator entered an interim

award on October 21, 2021, and a final award on January 28, 2022

(collectively, the “Arbitration Award”).           The Arbitration Award

found that Dramatic’s exclusive rights survived Lee’s 2011

termination letter.       The Arbitration Award is currently on

appeal to the U.S. Court of Appeals for the Seventh Circuit.

II.     Procedural History

        Atticus filed this federal lawsuit on November 30, 2022,

seeking a declaration that (1) “Atticus and Sorkin have the

right, in relation to [Dramatic], to present any and all Second-

Class, Stock, Amateur and Ancillary Performances [] of the

Sorkin Play in the United States;” and (2) “any such productions

of the Sorkin Play have not infringed and could not infringe any

purported copyright interest [Dramatic] claims to hold to the

Novel.”     Dramatic moved to dismiss the complaint on January 23,

2023.     On February 6, Atticus cross-moved for summary judgment.

        The Court denied Dramatic’s motion to dismiss and granted

in part Atticus’ cross-motion in its April 27 Opinion.             See



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Atticus, 2023 WL 3135745.      The Court held that as a matter of

copyright law, specifically § 304(c) of the Copyright Act,

Dramatic does not currently possess exclusive rights to perform

in the U.S. amateur theatrical productions of works derived from

the Novel.   Id. at *5.     The Opinion, however, left open the

question of whether Atticus’ right to assert as much is limited

by the doctrine of claim preclusion based on the ruling in the

Arbitration Award.     Id. at *13.        Dramatic contends that Atticus

and the Lee Estate are in privity because Atticus “controlled”

the Lee Estate in its arbitration with Dramatic.           Id. at *11-12.

      On May 11, 2023, Dramatic filed its answer, raising for the

first time a statute of limitations defense.2           In a conference

held on May 25, Dramatic informed the Court that it planned to

move for summary judgment on the ground that the statute of

limitations bars this action.        On June 2, Dramatic filed the

instant motion for summary judgment asserting its statute of

limitations defense.      The motion became fully submitted on June

14.




2 In a footnote in Dramatic’s response to Atticus’ motion for
summary judgment, Dramatic noted that it had not “had an
opportunity to raise affirmative defenses,” but did not
specifically mention a statute of limitations defense. Dramatic
also did not raise this defense in its January 23 motion to
dismiss.

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                               Discussion

     The standard governing summary judgment motions was set

forth in the Opinion and is incorporated by reference.          Dramatic

seeks through this summary judgment motion to dismiss Atticus’

declaratory judgment action.      Dramatic argues that the action,

which was filed in November 2022, is barred by the three-year

statute of limitations under the Copyright Act.         Dramatic

asserts that Atticus knew no later than March 7, 2019, when

Atticus received a copy of Dramatic’s arbitration demand, that

Dramatic was asserting exclusive rights pursuant to the 1969

Agreement.   According to Dramatic, at that point a reasonably

diligent plaintiff would have been put on inquiry notice as to

the existence of “a right” and the statute of limitations began

to run.

     This argument fails.     The “right” which Dramatic sought to

resolve in the arbitration with the Lee Estate was not Atticus’

right to perform the Sorkin Play and therefore the three-year

statute of limitations on which Dramatic relies has not begun to

run against Atticus.

     The Copyright Act provides that all “civil actions” under

its provisions must be brought “within three years after the

claim accrued.”   17 U.S.C. § 507(b).       A copyright claim

ordinarily accrues “when a plaintiff has a complete and present



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cause of action,” which typically accrues when an infringing act

occurs.   Petrella v. Metro-Goldwyn-Mayer, Inc., 572 U.S. 663,

670 (2014) (citation omitted).      For claims of copyright

infringement, each new infringing act causes a new claim to

accrue.   Kwan v. Schlein, 634 F.3d 224, 228 (2d Cir. 2011)

(citation omitted).

     There is an exception to this accrual rule, however, for a

claim of copyright ownership.      Claims of ownership, as distinct

from claims of infringement, accrue only once, when “a

reasonably diligent plaintiff would have been put on inquiry as

to the existence of a right.”      Id. (citation omitted).      Such a

claim accrues where there is a “plain and express repudiation of

[the claimant’s ownership] communicated to the claimant.”

Horror Inc. v. Miller, 15 F.4th 232, 257 (2d Cir. 2021)

(citation omitted); see also Gary Friedrich Enterprises, LLC v.

Marvel Characters, Inc., 716 F.3d 302, 317 (2d Cir. 2013).

Before applying these principles, it is necessary to define the

claims that are raised in this action.

     Atticus’ action is brought pursuant to the Declaratory

Judgment Act.     A declaratory judgment action is time-barred

“only if relief on a direct claim based on such rights would

also be barred.”     Stone v. Williams, 970 F.2d 1043, 1048 (2d

Cir. 1992).     In its complaint, Atticus seeks a declaration that



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Atticus and Sorkin are the sole owners of the copyright of the

Sorkin Play, and that productions of the Sorkin Play do not

infringe on Dramatic’s copyright in the Sergel Play. 3            Atticus’

ownership rights in the Sorkin Play, however, are not in dispute

here.     Dramatic never claimed and does not now claim any

ownership interest in the Sorkin Play.

        In declaratory judgment actions addressed to copyright

claims, it is often necessary to realign the parties to properly

assess the claims.       Garanti Finansal Kiralama A.S. v. Aqua

Marine & Trading Inc., 697 F.3d 59, 67 (2d Cir. 2012); 3

Melville B. Nimmer & David Nimmer, Nimmer on Copyright § 12.05

(2023).     That is true here.     In this litigation, the issue in

dispute is the extent of Dramatic’s copyright interest in the

Novel and whether Dramatic has the exclusive right to perform in

amateur productions a derivative work based on the Novel.             If

Dramatic has such exclusive rights, then it may seek to bar

amateur performances of the Sorkin Play.           Thus, this litigation,

as the parties agree, turns on a determination of Dramatic’s

rights.     As Dramatic admits in its motion, “[t]his is a case

about the extent of Dramatic’s ownership rights.”            This action




3 Atticus and Sorkin are, respectively, the production and
copyright owners of the Sorkin Play.

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therefore anticipates claims that Dramatic may seek to assert

one day against amateur productions of the Sorkin Play.

     Applying these principles, Atticus’ claim in this

declaratory judgment action is not time-barred.        Its ownership

interest in the Sorkin Play is not being litigated here and

therefore the three-year statute of limitations under the

Copyright Act for claims about its ownership interest has not

been triggered, much less run.

     Dramatic’s assertion of a statute of limitations bar

invites serious error.    Carried to its logical conclusion,

Atticus would forever be barred from challenging Dramatic’s

assertion of exclusive rights to perform amateur productions

derived from the Novel.    Should Dramatic sue Atticus in the

future for a performance of the Sorkin Play in amateur

productions, Atticus would be foreclosed from challenging

Dramatic’s assertion of exclusive rights.       This cannot be.

Similarly, Dramatic’s assertion that the time for Atticus to

bring this action began when it learned of the claims made in

Dramatic’s arbitration demand against the Lee Estate makes

little sense.   Atticus could not have known in March of 2019

that the arbitrator would issue an award premised on a

fundamental error of copyright law.      See Atticus, 2023 WL

3135745, at *5-7.   Moreover, Atticus had no right to join the



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